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                                       September 24, 2018
VIA ELECTRONIC-FILING
 The Honorable Leonard P. Stark
 U.S. District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, DE 19801-3556

       Re:      International Business Machines Corporation v. Groupon, Inc.
                C.A. No. 16-122-LPS-CJB

Dear Chief Judge Stark:
Enclosed are two CDs containing:

       •     (D.I. 418) IBM’s Motion for Enhanced Damages, Attorneys' Fees, Pre- and Post-
             Judgment Interest, and an Ongoing Royalty
       •     (D.I. 419) Plaintiff IBM’s Sealed Post-Trial E-Brief
       •     (D.I. 420) Sealed Declaration of Jerry A. Hausman with Exhibits 1-4
       •     (D.I. 421) Sealed Declaration of Laurie Stempler with Exhibits A-O

The CDs include a searchable PDF of the brief and declarations, which are hyperlinked to the
exhibits and all cited authority.

Counsel are available at any time, if the Court has any questions about the electronic brief.



                                                     Respectfully,

                                                     /s/ Bindu A. Palapura

                                                     Bindu A. Palapura


BAP:sjh/5936981/43155
Enclosure

cc:    Clerk of the Court (via hand delivery w/ enclosure)
       Counsel of Record (via electronic mail w/o enclosure)
